                           UNITED STATES DISTRICT COURT
                               DISTRICT OF MINNESOTA


JOHN OTTO RANDLE,                                       Civil No. 06-4429 (RHK/AJB)

             Plaintiff,                                           ORDER


             v.

MPLS. POLICE DEPARTMENT
(3RD PRECINCT), Officer CHRISTIE
NELSON, Mr. CURTISS CLARIN,
Officer KRISTOPHER KRAMER,
Officer GREAVES, Officer MARK
SUCHTA, Officer GARY WESTWND,
Officer DEREK CHAUVIN, and
Officer ANTHONY SMITH,

             Defendants.


      Based upon the Findings of Fact, Conclusions of Law, and Recommendation by

United States Magistrate Judge Arthur J. Boylan dated December 12, 2006, all the files

and records, and no objections having been filed to said Recommendation,

      IT IS HEREBY ORDERED:

      1. The Report and Recommendation (Doc. No. 4) is ADOPTED;

      2. Plaintiff’s application for leave to proceed in forma pauperis (Doc. No. 2) is

DENIED; and

      3. This action is DISMISSED WITHOUT PREJUDICE.

DATED: January 8, 2007

                                          s/Richard H. Kyle
                                          RICHARD H. KYLE
                                          United States District Judge
